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couN'rY DEPARTMENT, LAw oxylsloN

ILIANA REYES
Plaintiff

v.
COURT #
HILTON WORLDWIDE, INC., a Delaware
Corporation, HlLTON MANAGEMENT, LLC, a
Delaware Limited Liability Company, HILTON
RESORTS CORPORATION, a Delaware
Corporation,'HlLTCN SYSTEMS SOLUTIONS,
LLC, a Delaware Limited Liability Company,
HILTGN RESERVATIONS WORLDWIDE,
LLC, a Delaware Limited Liability Company,
HILTON CHICAGO CORPORATION,a

Nevada Corporation, and HILTON lLLINOIS
CORP., a Nevada Corporation,

Defendants.

 

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The Plaintiff,_ ILIANA REYES, by her attorneys, LEV[N & PERCONTI, comp!ains
against defendant, HILTON WORLDWIDE, INC., a Delaware Corporation, HILTON
MANAGEMENT, LLC, a Delaware Limited liability Compaoy, HILTON RESORTS
CORPORATI¢N, a Delaware Corporation, HILTON SYSTEMS SOLUTTONS, LLC, a
Delaware Limited Liability Company, HILTON RESERVAT!ONS WORLDW!DE, LLC, a
Delaware Limited Liabilfty Com'pany, HILTON CHICAGO CORPORATION, a Nevada
Corporation, add HILTON lLLINOIS CORP., a Nevada Corporation, as follows:

EXH|B|T

 

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:l. On and prior to January 10, 2014, Defendant, HILTON WORLDWIDE, INC., a
Delaware Corporation, owned a hotel known as I-lilton Chicago/Oak Brook Suites, located at 10
' Drury Lane, Oakbrook Terrace, Illinois.
2. on and prior to Jorrurry 10, 2014, Deforrdrrt, mLToN woRLi)wn)E, mc.,
operated miron chicago/oak Brook suitor located 10 Drnry Laro, oakbrooi< rome minois. `
‘3. orr rod prior io'irruory 10, 2014, Dofordorrt eroN woRanu)E, 1Nc.,
maintained Hilton Chicago/Oak~Brook Suites located 10 Drury Lane, Oakbrook Terrace, lllinois`.
4. On and prior to lanuary 10, 2014, Defendant HILTON VYORLDWID,E, INC.,
managed, controlled and/or was’in charge of Hilton Chicago/Oak Brook Suites located 10 Drnry
Lane, Oakbroolc Terrace, Illinois.
b s. on ord prior to Jrnurry 10, 2014, Doforriionc, HILTQN' woRL`i)wn)E, INc.,

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transacted business in Cook County, lllinois.'
6. On and prior to January 10, 2014, the Plaintiff, ILIANA REYES (“ILIANA”),

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war a guest or Iiinoo chicago/oak Brook suitor located 10 Drnry Lano, oakbrooir rome
Illinois.

7. on ord prior to Jrrorry 10,2014,rho plaintiir, u.rANA,'wor_ lawfully upon mo
premises located at 10 Drnry Lane, Oakbrook Ten'ace, lllinois.

8. On and prior to January 10, 2014, the main elevators in the lobby at Hilton

Chicago/Cak Brook Suites were not in service.

9. On and prior to January 10,‘ 2014,- the Hilton Chicago/Oak Brook Suites staff
directed its guests, including ILlANA, to use the service elevator at the rear of Defendant’s hotel

lobby because the hotel’s main elevators were not in senrice.

 

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10. On January lO, 2014, while a guest at l-Iilton Chicago/Oak Broolc Suites, lLIANA
slipped and fell on a puddle of water located in the rear ofDefendant’s hotel lobby near the service
elevator.

l l. On_ January 10, 2014, Defendant HILTON WORLDWIDE, INC., knew, or in the
exercise of reasonable care, should have known that its premises was unreasonably dangerous for
persons lawfully upon those premises, including ILIANA, as a result of the manner in which
Defendant’s floor was maintained near the service elevator. '

12. Defendant l-IIL'l"QN WORLDWIDE, IN€., owed a duty to exercise ordinary care

and caution in the ownership, operation, maintenance, management control, and repair of the

|premises for the use of patrons lawfully on the premises, including, lLIANA.

13. Defendant, HILTON WORLDWIDE, INC., carelessly and negligently breached

its duty in one or more of the following ways:

a) Maintained the premises of the hotel in an unreasonably
dangerous condition;

b) Failed to remove the puddle of water from the floor in
Defendant’s.premises in a timely manner; .

c) Failed to warn hotel patrons and/or guests of a puddle of
1 water on Defendant’s premises; and

d) Failed to warn patrons of the precarious nature of a
puddle' of water on Defendant’s premises.

14. As a direct and proximate cause of defendant HlLTON WORLDWIDE, INC.’S
careless and negligent'acts or omissions, ILIANA suffered injuries of a personal and pecuniary
nature including, but not limited to, a ruptured right hainstring and deep vein thrombosis in her
injured leg, which required surgery and significant post-surgical treatinan pain and suffering,
disability and disfigurement, lost wages and physical and emotional trauma, all of which are

permanent

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WHEREFORE, the plaintiff, ILIANA REYES, asks that judgment be entered against
defendant HlLTON WORLDW[DE, INC., a Delaware Corporation, in a fair and just amount
in errors of FIFTY rnousANo ooLLAns (sso,ooo.oo).

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REYEs v. LTQN M¢MGELQNT, LLc

l. On and prior to January 10, 2014, Defendant, HILTON MANAGEMENT, LLC,
a Delaware leited Liability Company, owned a hotel known as‘l-Iilton Chicago/Oak Brook

Suites, located at 10 Drury Lane, Oakbrook Terrace, lllinois.
2. On and prior to January 10, 2014, Defendant, HlLTON MANAGEMENT, LLC,

1

operated Hilton Chicago/Oak Brook Suites located 10 Dr'ury Lme, Oakbrook Terrace, lllinois.
3. 0n and prior to January 10, 2014, Defendant HILTON MANAGEMENT, LLC,

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maintained l-lilton Chicago/Oak Brook S\lites located 10 Drury Lane, Oakbrook Terrace, Illinois. v
4. or rod prior-to worry '10,2014,<Do`rerii'airr alitTON`MANAGEMENr, LLc,.

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managed, controlled and/or was in charge of Hilton Chicago/Oak Brook Suites located 10 Drury

Lane, Oakbrook Terrace, lllinois.

5. On and prior to January 10, 2014, Defendant, HILTON MANAGEMENT, LLC,

f

 

transacted business in Coolt County, lllinois.

'6. On and prior-to January 10, 2014, the Plaintiff, ILIANA REYES (“ILIANA”),
was a guest at Hilton Chicago/Oak Brook Suites located 10 Drury Lane, Oakbrook Terrace,
nlirroir. `

7. On and prior to January 10, 2014, the plaintiff, ILIANA, was lawfully upon the
promises located ar ~1 o‘-Dr‘ory Larro, oakbroolr rome illinois d

4 8. do and prior to January 10, 2014, the main elevators in the lobby at Hilton

Chicago/Oak Brook Suites were not in service.

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9. On and prior to January 10, 2014, the Hilton Chicago/Oak Brook /Suites stad’

directed its guests, including ILIANA, to use the service elevator at the rear of Defendant’s hotel
_ lobby because the hotel’s main elevators were not in service.

10. 0n January 10, 2014, while a guest at Hilton Chicago/Oak Brook Suites, lLlANA '
slipped and fell on a puddle of water located in the rear ofDefendant’s hotel lobby near the service
elevator.

l 1. On January 10, 2014, Defendant HlLTON MANAGEMENT, LLC, knew, or in
the exercise of reasonable care, should have known that its premises was unreasonably dangerous

w" for persons lawfully upon those premises, including ILIANA, as a result of the manner in which
Defendant’s floor was maintained near the service elevator.
12. Defendant HILTON MANAGEMENT, LLC, owed a duty to exercise ordinary

care and caution in the ownership, operation, maintenance, management control, and repair of the

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premises for the use of patrons lawfully on the premises, including, lLIANA.

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13. Defendant, HILTON MANAGEMENT, LLC, carelessly and negligently

breached its duty in one or more of the following ways:

 

 

a) Maintained the premises of the hotel in an unreasonably
dangerous condition;

b) Failed to remove the puddle of water from the floor in
Defendant’s premises in a timely manner;

c) Failed to warn hotel patrons and/or guests of a puddle of
water on Defendant’s premiser; and

d) Failed to warn patrons ol` the precarious nature of a
` puddle of water on Defendant’s premises.

14. Ar o direct ord proximate ororo orderor<ir't`tt aiLroN MANAGEMENT; 'li;'L'c"s 1 ‘ ‘ ~ 'f
careless and negligent acts or omissions, ILIANA suffered injuries of a`personal and pecuniary

nature including, but not limited to, a ruptured right hamstring and deep vein thrombosis in her

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injured leg, which required surgery and significant post~surgical treatment, pain and suffering,
disability and disfigurement, lost wages and physical and emotional trauma, all of which are
permanent '

WHEREFORE, the plaintii’f, ILIANA REYES, asks that judgment be entered against l
defendant, HILTON MANAGEMENT, LLC, a Delaware Limltcd Liability Company, in a
fair and just amount in excess of FIFTY THC_USAND DOLLARS ($50,000.00).

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REYEs v. HILToN REsoRIs coRPoRA'rigN

l. On and prior to January 10, 2014, Defendant, HlLTON RESORTS
CORPORATION, a Delaware Corporation, owned a hotel known as Hilton Chicago/Oak

Brook Suites, located at 10 Drury Lane, Oakbrook 'l'errace, Illinois.
2. On and prior to January 10, 2014, Defendant, HILTON RESORTS

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'I`errace, lllinois.

3. On and prior to January 10, 2014, Defendant HILTON RESORTS

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conronATroN, maintained nitth cmcagq/oalt Brook states located 10 Drury Lane,

Oakbrook Terrace, lllinois.

4. On and prior to January 10, 2014, Defendant l{lLTON R.ESORTS
CORPORATlON, managed, controlled and/or was in charge oinlton Chicago/Oak Brook Suites

located 10 Drury Lane, Oakbroolc Terrace, Illinois.

5. On‘ and prior to January 10, 2014, Defendant, HlLTON RESORTS'

CORPORATION, transacted business in Cook County,_ illinois.
6. On and prior to January 10, 2014, the Plaintif£ ILIANA REYES (“ILIA.NA”),

was a guest at Hilton 'Chicago/Oak Brook Suites located 10 Drury Lane, Oakbrook Tetrace,

CORPORATION, operated Hilton Chicago/O'ak Brook Suites located l~O Drury Lane,.,Oakbrook - ‘

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Illinois.

7. _ on and prior to January 16,2014,the plaintiff, ILIANA, was lawfully uan the
premises located.at_ 10 Drury Lane, Oakbrook Terrace, lllinois.

8. On and prior to January 10, 2014`, the main elevators in the lobby at Hilton
Chicago/Oak Brook Suites were not in service.

9. On and prior to January 10, 2014, the Hilton Chicago/Oak Brook Suites staff
directed its guests, including ILIANA, to use the service elevator at the rear of Defendant’s hotel

lobby because the hotel’s main elevators were not in service.

1

lO. On January 10, 2014, while a guest at Hilton Chicago/Oak Brook Suites, ILIANA
slipped and fell on a puddie of water located in the rear ofDefendant’s hotel lobby near the service

elevator.

ll. On January 10, 2014, Defendant HlLTON RESORTS CORPORATION, knew,

or in the exercise of reasonable care, should have known that its premises was unreasonably

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dangerous for persons lawfully upon those premises, including ILIANA, as a result of the manner

 

 

l in which Defendant’s floor was maintained near the service elevator.
'\_____J `
12. t Defendant HILTON RESORTS CORPORATION, owed a duty_to exercise
ordinary care and caution in the ownership, operation, maintenance, management control, and
repair ofthe premises for th_e use of patrons lawfully on the premises, including`, ILIANA.
l3. Det`endant, HILTON RESORTS CORPORATlON, carelessly and negligently

breached its duty in one or more of the following ways:

a) Maintained the premises of ~tl\e hotel in an unreasonably
dangerous condition;

b) Failed to remove the puddle of water from the floor in
Defendant’s premises in a timely manner;

c) Failed to warn hotel patrons and/or guests of a puddle of

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water on Det`endant's premises; and

d) Failed to warn patrons of the precarious nature of a
puddle of water on Defendant’s premises.

14. » ar ~e direet end proximate route or defendant - ulLroN~ 5 ~ansonT-s~ ' ~
CORPDRATION’S careless and negligent acts or omissions, ILIANA suffered injuries of a
personal and pecuniary nature including, but not limited to, a ruptured right hamstring and deep
vein thrombosis in her injured leg, which required surgery and signifith post-surgical treatment,

pain and suffering, disability and distigurement, lost wages and physical and emotional trauma, all

 

 

___________` of which are permanent
wHEREFoRE, the putnam ILIANA REYEs, asks that judgment be entered against
' § defendant, HILTON RESORTS CORPORATION, a Delawarc Corporation, in a fair and just
§§§§ mount in excess of FlFl`Y THOUSAND DOLLARS ($50,000.00).
o " °° ' `
;§§§§ m v. grLTog%oL_Xs_¥mT MIsVsoero§s , LLc
§_- l. On and prior to January 10, 2014, Defendant, HILTON SYSTEMS
SOLUTIONS, LLC, a Delaware Limited Liability Company, owned a hotel known as Hilton

' ' ' Chicago/Oak Brook Suites, located at 10 Drury Lane, Oakbrook Terr`ace, illinois.
. 2. On and prior to January 10, 2014, Defendant, HILTON SYSTEMS
SOLUTIONS, LLC, operated Hilton Chicago/Oak Brook Suites located 10 Drury Lane,

Oakbrook Terrace, lllinois.

3. On and prior`to January 10, 2014, Defendant HILTON SYSTEMS SOLUTIONS,
LLC, maintained Hilton Chicago/Oak Brook Suites located 10 Drury Lane, Oakbrook Terrace,

lllinois.

4. On and prior to January 10, 2014, Defendant HILTON SYSTEMS SOLUTIONS,

LLC, managed, controlled and/or was in charge of Hilton Chicago/Qak Brook Suites located 10

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Drury Lane, Oakbrook Terrace, illinois.

5. On and prior to January ` 10, 2014, Defendant, HILTON SYSTEMS
SOLUTIONS, LLC, transacted business in Cook County, Illinois.

6. On and prior to lanuary 10, 2014, the Plaintit’f, ILIANA `REYES (“ILIANA”),
was a guest at I~ii|ton Chicago/Oak Brook Suites located 10 Drtny Lane, Oakbrook Ten~ace,
tuition '

7. On and prior to January 10, 2014, the plaintiff, IL!ANA, was lawfully upon the
premises located at 10 Drury Lane, Oakbrook Terrace, Illinois.

r'_'~_l 8. On and prior to January 10, 2014, the main elevators in the lobby at Hilton
Chicago/Oak Brook Suites were not in service. .
9. on end prior to January 10, 2014, tire Hiitoo chicago/oak Brook suited ran

directed its guests, including ILIANA, to use the service elevator at the rear of Defendant's hotel

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4 lobby because the hotel’s main elevators were not in service.

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10. On January 10, 2014, while a guest at Hilton Chicago/Oak Brook Suites, ILIANA

slipped and fell on a puddle of water located in the rear of Defendant’s hotel lobby near the service

 

 

elevator. _

ll. On January 10, 2014, Defendant I-IILTON S¥STEMS SOLUTIONS, LLC,
kncw, or in the exercise of reasonable care, should have known that its premises was unreasonably
dangerous for persons lawfully upon those premises, including ILIANA, as a result of the manner
in which Defendant’s floor was maintained near the service elevator.

_12. Defendant HILTON SYS'l`EMS SOLUT[ONS, LLC, owed a duty to exercise
ordinary care and caution in the ownership, operation, maintenance management, controi, and
repair of the premises for the use of patrons lawhlll'y on the premises, including, ILIANA.

13. Defendant, HILTON SYSTEMS SOLUTIONS, LLC, carelessly and negligently

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breached its duty in one or more of the following ways:

a) Maintaiued the premises of the hotel in an unreasonably
dangerous condition;

, b) Failed- to remove the :puddle'of water.from the.iloo'r in - ~~ »
Det'endant’s premises in a timely manner;

c) Failed to warn hotel patrons and/or guests of a puddle of
~ water on Defendant’s premises; and

d) Failed to warn patrons of the precarious nature of a
puddle of water on Defendant’s premises

14. As a direct and proximate came of defenth HILTON S\’STEMS SOLUTIONS,

””~_`LLC’S careless and negligent acts or omissions, ILIANA suii’ered injuries of a personal and
o pecuniary nature`including, but not limited tc, a ruptured right hamstring and deep vein thrombosis
§E§ 2 in her injured leg, which required surgery and significant post»surgical treatment, pain and
§ § § § suffering, disability and distigurement, lost wages and physical and emotional trauma, all of which
§ §§§§" are permanent §
§ § WHEREFORE, the plaintiff, ILlANA R.EYES, asks that judgment be entered against .
defendant HILTON SYSTEMS SOLUTIONS, LLC, a Delaware Limitcd Liability Company,

 

 

in a fair and just amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00).
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BE!E§ v. HILTQN RE§ERVATIONS WORLDWIQE, LLC

l. On and prior to January 10, 2014, Dcfendant, HILTON RESERVAT!ONS
WORLDWIDE,’LLC, a Delaware Limited Liability Company, owned a hotel known as Hilton

Chicago/Oak Brook Suites, located at 10 Drury Lane, Oakbrook 'l`errace, illinois
2. On and prior to January 10, 2014, Defendant, HILTON RESERVATIONS

WORLDWIDE, LLC, operated Hilton Chicago/Qak Brook Suites located 10 Drury Lane,

Oakbrook Terrace, Illinois.

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3. On and prior to January 10, 2014, Defendant HIL'I`ON RESERVAT!ONS 4
WORLDWIDE, LLC, maintained Hilton Chicago/Oak Brook Suites located 10 Drury Lane,
oei<brooit remee,niiriois. ` l

4. On and prior to January 10, 2014, Defendant HILTON RESERVATIONS
WORLDWIDE, LLC, managed, controlled and/or was in charge of Hilton Chicago/Oak Brook
seiter located io Drury Lane, oeirbrooir retiree mitioie. '

5. On and prior to January 10, 2014, Defendant, HILTON RESERVATIONS

WORLDWIDE, LLC, transacted business in Cook County, Illinois.

l § 6. On and prior to January 10, 2014, the PlaintiH`, ILIANA REYES (“lLlANA”),

i
was a guest at Hilton Chicago/Oak Brook Suites located 10 Drury Lane, Oakbrook Tenace,
lllinois.

7. On and prior to January 10, 2014, the plaintiff, ILlANA, was lawfully upon the

premises located at'lO Drury Lane,'Oakbrook'Terracc, Illinois. `
8. On and prior to January 10, 2014, the main elevators in the lobby at Hilton

 

Chicago/Oak Brook Suites were not in service

9. On and prior to January 10, 2014, the Hilton_ Chicago/Oak Brook Suites staff
directed itsvguests, including ILIANA, to use the service elevator at the rear of Defendant’s hotel
lobby because the hotel’s main elevators were not in service.

f 10. § On January 10, 2014, while a guest at Hilton Chicago/Oak Brook Suites, ILIANA

slipped and fell on a puddle of water located in the rear of Defendant’s hotel lobby near the service

elevator.

ll. On January 10, 2014, Defendant HILTON~RESERVATIONS WORLDWIDE,
LLC, knew, or in the exercise of reasonable care, should have known that its premises was

unreasonably dangerous for persons lawfully upon those premises, including ILIANA, as a result

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a

of the manner in which Defendant’s floor was maintained near the service elevator.

12. Defendant HILTON RESERVATIONS WORLDWIDE, LLC, owed a duty to
exercise ordinary care and caution in the ownership, operation, maintenance, management control,
and repair of the premises for the use of patrons lawfully on the premises, including, ILlANA.

v 13. Defendant, I-IILTON RESERVATIONS WORLDWIDI:§, LLC, carelessly and
negligently breached its duty in one or more of the following ways:

a) Maintained the premises of the hotel in an unreasonably
1 dangerous condition;

b) Failed to remove the puddle of water from the floor in

 

 

Defendant’s premises in a timely manner;
g c) Failed to warn hotel patrons and/or guests of a puddle ol'
3 water`on Defendant’s premises; and .
, 512 . '
5 §§ g § d) Failed to warn patrons of the precarious nature of a
§§ §§ ' puddle of water on Defendant’s premises
E*am. ' ' . _
~ §§§§ 1 v 14. As a direct and proximate cause of defendant HlLTON RESERVATIONS
§ WORLDWIDE, LLC,’S careless and negligent acts or omissions, ILIANA suffered injuries of a
,personal and pecuniary nature including, but not limited to, a ruptured right hamstring and deep
` l .

vein thrombosis in her injured leg, which required surgery and significant post-surgical treatrnent,
pain and suffering, disability and disfigurement lost wages and physical and emotional trauma, all '
of which are permanent d l \

WHEREFORE§ the plaintiff ILIANA REYES, asks that judgment be entered against
defendant HILTON RESERVATIONS WORLDWIDE, LLC, a Delaware Limitcd Liability
Cornpany, in a fair and just amount in excess of FIFI`Y THOUSAND DOLLAR§ ($50,000.00).

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MYES v. mLToN cmc¢cg coRPgRA'rroN

l. On and prior to January 10, 2014, Defendant, HILTON CI{lCACO

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CORPORATION, a Nevada Corporation, owned a hotel known as Hilton Chicago/Oak Brook
Suites, located at 10 Drury Lane, Oakbrook Terrace, lllinois. v
2. On and prior to January 10, 2014-, Defendant, HILTON CHlCAGO
CORPORATlON, operated Hilton Chicago/Oak Brook Suites located 10 Drury Lane, Oakbrook
Tenace, Illinois.' d
3. On and prior to January 10, 2014, Defendant HILTON CHICAGO
CORPORATION, maintained Hilton Chicago/Oak Brook Suites located 10 Drury Lane,

Oakbrook Terrace, Illinois.

4. on and prior to January 10', 2014, Defendant umroN cchoo
CORPORATION, managed, controlled and/or was in charge oinlton Chicago/Oak Brook Suites

located 10 Drury Lane, ookbrook romoo, minors
5. on and prior to January 10, 2014, Defendant HILToN cnrcAco

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CORPORATION, transacted business in Cook County, Illinois.
6. On and prior to January l0, 2014, the Plaintiff, ILIANA REYES (“lLIANA”),

was a guest at Hilton Chicago/Oak Brook Suites located 10 Drury Lane, Oakbrook ’I`errace,

 

 

l lllinois.

7. On and,pri,or to January 10, 2014, the plaintiff, lLlANA, was lawfully upon the
premises located ar `10 Drury Lane, oakbrook ronaoe, rumois.
8. On and prior to January 10, 2014, the main elevators in the lobby at Hilton

Chicago/Oak Brook Suites were not in service.

9. On and prior to January 10, 2014, the Hilton Chicago/Oak lBrook Suites staff
directed its guests, including IL!ANA, to use,the service elevator at the rear of Defendant’s hotel

lobby because the hotel's main elevators were not in service

10. On January 10, 2014, while a guest at Hilton Chica`go/Oak Brook Suites, lLIANA

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slipped and fell on a puddle of water located in the rear of Defendant’s hotel lobby near the service

d elevator.

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1 l. On January 10, 2014, Defendant HILTON CHICAGO CORPORATION, knew,‘ `
or in the exercise of reasonable care, should have known that its premises was unreasonably
dangerous for persons lawfully upon those premises, including ILlANA, as a result of the manner
in which Defendant’s floor was maintained near the service elevator.

12. Defendant HILTON CHICAGO CORPORATION, owed a duty to exercise
ordinary care and caution in the ownership, operation, maintenance management control, and
repair of the premises for the use of patrons lawfully on the premises, including, ILIANA.

13. Defendant, HILTON CHICAGD CORPORAUON, carelessly and negligently
breached its duty in one or more of the following ways:

a) Maintained the premises of the hotel in an unreasonably
dangerous condition;

b) Falled to remove the puddle of water from the floor in
Defendant’s premises in a timely manner;

c) Failed to warn hotel patrons and/or guests of a pudd|e of
water on Defendant’s premises; and

d) Failed to warn patrons of the precarious nature of a
puddle of water orr Defendant’s premises

14. As a direct and proximate cause of defendant HILTON CHICAGO
coRPoRATroN’s careless arirl,nogligonr acts or omissions rLrANA suffered injuries or a
personal and pecuniary nature including, but not limited to, a ruptured right hamstring and deep v
vein thrombosis in her injured leg, which required surgery and significant post-surgical treatment
pain and suli'ering, disability and disfigurement lost,wages and physical and emotional trauma, all
of which are permanent v

WHEREFORE, the plaintiff, ILIANA REYES, asks that judgment be entered against

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defendant HILTON;CH!CAGO CORPORATION, a Nevada Corporation, in a fair and just
'srrrourrr in excess ofFrr'r_Y 'rHousANn DoLL'ARs (sso,ooll.oo).
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gregg g grgrgN rumors goRP.

' l. 0n and prior to January 10, 2014, Defendant, HILTON ILLINOIS CORP.,
Nevada Corporation, owned a hotel known as Hilton Chicago/Oak Brook Suites, located at 10

Drury Lane, Oakbrook Terrace, lllinois.
2. On and prior to January 10, 2014, Defendant, HILTON ILLINOIS .CORP.,

operated Hilton Chicago/Oak Brook Suites located 10 Drury Lane, Oakbrook Terrace, lllinois.

 

 

 

3. On and prior to January 10, 2014, Defendant HILTON ILLINOIS CORP.,
g §§ maintained Hilton Chicago/Oak Brook Suites located 10 Drury Lane, Oakbrook 'l`en'ace, lllinois.
§§§§ 4. On and prior to January 10, 2014, Defendmt HILTON ILLINOIS CORP.,
§ §2§ managed, controlled and/or was in charge oinlton Chicago/Oak Brook Suites located 10 Drury
§§ g °‘ Lane, orlrbrool< rsrrrso, illinois
d s. orr and prior co January 10, 2014`, Defendant ulLToN rLLrNols court
L_ ___j transacted business iri cook coorrry, lllinois. /

6. orr one prior io rrrrurry 10, 2014,¢11¢ Plrirriin; rLrANA REYES (“ILIANA"),
was a guest at Hilton Chicago/Oak Brook Suites located 10 Drury Lane, Oakbrook Terrace,

lllinois.

7. On and prior to January 10, 2014, the plaintift`, ILIANA, was lawfully upon the

premises located at 10 Drury Lane, Oakbrook 'l`errace, lllinois. '
8. On and prior to January 10, 2014, the main elevators in the lobby at Hilton
Chicago/Oak Brook Suites were not in service.

9. On and prior to January 10, 2014, the Hilton Chicago/Oak Brook Suites staff

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directed its guests, including lLIANA, to use the service elevator at the rear of Defendant’s hotel
lobby because the hotel’s main elevators were not in service.

10. On January 10, 2014, while a guest at Hilton Chicago/Oak Brook Suites, ILIANA
slipped and fell on a puddle of water located in the rear ofDefendant’s hotel lobby near the service
elevator. 4

ll. On January 10f 2014, Defenth HILTON ILLINOIS CORP., knew, or in the

k exercise of reasonable care, should have known that its premises was unreasonably dangerous for
persons lawfully upon those premises, including ILIANA, as a result of the manner in which
Defendant’s floor was maintained near the service elevator.

d 12. . Defendant HILTON ILLlNOIS CORP., owed a duty to exercise ordinary care

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and caution in the ownership, operation, maintenance, management, control, and repair of the

premises for the use of patrons lawfully on the premises, including, ILIANA.

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13. Defendant, HII_.TON ILLlNOlS CORP., carelessly and negligently breached its
duty in one or more of the following ways:

a) Maintained the premises of the hotel in an unreasonably
dangerous condition; .

 

b) Failed to remove the puddle of water from the floor in
Defendant’s premises in a timely manner;

c) Failed to warn hotel patrons and/or guests ot' a puddle of
water on Defendant’s premises; and

d) Failed to warn patrons of the precarious nature of a
puddle of water on Defendant’s prcmises.

14. As a direct and proximate cause of defendant HIL'l`CN ILLINOIS CORP.’S

careless'and negligent acts or omissions, ILIANA suffered injuries of a personal and pecuniary
nature including, but not limited to, a ruptured right hamstring and deep vein tlu'ombosis in her

injured leg, which required surgery and significant post-surgical treatment pain and suiferin'g,

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disability and disfigurement lost wages and physical and emotional trauma, all of which are

pennanent.

WHEREFORE, the plaintiff, ILIANA REYES, asks that judgment be entered against

defendant HILTON lLLINOIS'CORP., a Nevada Corporati'on, in a fair and just amount in

excess ofFIFTY THOUSAND DOLLARS (850,000.00).

MICHAEL l`~`. BONAMARTE
ANDREW J. THUT

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Respectfully submitted,
LEVIN & PERCONTI

  

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